                       Case 4:13-cr-00258-KGB                    Document 91            Filed 07/30/15          Page 1 of 4
A02458        (Rev. 09/11) Judgment ma Cnminal Case
              Sheet 1



                                           UNITED STATES DISTRICT COURT

                                                                                                                         -
                                                                                                                 JAME
                                                           Eastern District of Arkansas                          By:_                            ~K
                                                                          )                                                                    ofPCLERK
             UNITED STATES OF AMERICA                                     )      JUDGMENT IN A CRIMINAL CASE
                                 v.                                       )
                    MINERVA MANNRIQUE                                     )
                                                                          )      Case Number: 4: 13-cr-00258-003
                                                                          )      USM Number: 27934-009
                                                                          )
                                                                          )       MICHAEL SPADES
                                                                                 Defendant's Attorney
THE DEFENDANT:
ij('pleaded guilty to count(s)        1s
                                  ~------------------------------------




0 pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                         Offense Ended
 8 U.S.C. § 1326(a)               Re-Entry of a Deported Alien                                               8/14/2013                    1s




       The defendant is sentenced as provided in pages 2 through           __4_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

~Count(s)       1                                       ij( is    Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economic circumstances.

                                                                           7/29/2015
                                                                          Date oflmposit10n of Judgment




                                                                           Kristine G. Baker                            U.S. District Judge
                                                                          Name and Title of Judge
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AO 2458     (Rev 09111) Judgment in Criminal Case
            Sheet 2 - Impnsonment

                                                                                                 Judgment - Page      2   of   4
DEFENDANT: MINERVA MANNRIQUE
CASE NUMBER: 4:13-cr-00258-003


                                                          IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 Time served.




    D The court makes the following recommendations to the Bureau of Prisons:




    D The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
          D at                                               D p.m.     on

          D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                      to

 a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                              UNITED ST A TES MARSHAL



                                                                        By ----------------------~
                                                                                           DEPUTY UNITED ST ATES MARSHAL
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AO 2458    (Rev. 09/11) Judgment in a Cnmmal Case
           Sheet 5 - Cnminal Monetary Penalties
                                                                                                    Judgment -    Page         of
DEFENDANT: MINERVA MANNRIQUE
CASE NUMBER: 4:13-cr-00258-003
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment                                            Fine                            Restitution
TOTALS            $ 0.00                                                $ 0.00                          $ 0.00


D The determination of restitution is deferred until           --~
                                                                        . An Amended Judgment in a Criminal Case (AO 2./5C') will be entered
     after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately pro]Jortioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

 Name of Payee                                                             Total Loss*        Restitution Ordered Priority or Percentage




 TOTALS                             $                           0.00


 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the             D fine     D restitution.
      D the interest requirement for the            D   fine    D restitution is modified as follows:


 *Findings for the total amount oflosses are required under Chapters 109A, 110, 1IOA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                       Case 4:13-cr-00258-KGB                       Document 91            Filed 07/30/15            Page 4 of 4
AO 2458    (Rev. 09/11) Judgment in a Cnminal Case
           Sheet 6 - Schedule of Payments

                                                                                                               Judgment - Page       4      of           4
DEFENDANT: MINERVA MANNRIQUE
CASE NUMBER: 4:13-cr-00258-003

                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ri/ Lump sum payment of$ -0.00
                                 - - - - - - due immediately, balance due

           D     not later than                                      , or
           D     in accordance           D    C,     D    D,    D      E, or    ~ F below; or

 B    D    Payment to begin immediately (may be combined with                  oc,        DD, or        D F below); or

 C    D    Payment in equal                          (e.g., weekly, monthly. quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D    D    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    D    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    ri/ Special instructions regarding the payment of criminal monetary penalties:
            The special assessment fee was waived upon motion of the government.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All criminal monetary penalties, except Those payments made through the Federal Bureau of Pnsons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
